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                 IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF HAWAII

                              CIVIL NO. 19-
  DANIEL WARD,     )
      Plaintiff    )
                   )
        v.         )
                   )
  THE COVE         )
  COLLECTION, LLC)
       Defendant   )
  _________________)

        Plaintiff DANIEL WARD, through his undersigned counsel, avers
  and alleges:
                      JURISDICTION AND VENUE

                 1. This court has original jurisdiction pursuant to 28 U.S.C.
  Section 1331 through the federal question raised herein, namely the alleged
  violation of the Americans With Disabilities Act of 1990 (hereinafter
  “ADA”), 42 U.S.C. Section 12101 et seq.
                 2. All events material hereto occurred within the District of
  Hawaii.
                 3. Plaintiff DANIEL WARD is a person with a disability,
  namely spinal cord-injured quadriplegia.
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                 VIOLATION OF 42 U.S.C. § 12101 ET. SEQ.
               4. According to 28 CFR part 36, the defendant THE COVE
  COLLECTION, LLC, is a “public accommodation” which is operating a
  “place of public accommodation,” namely a pawn store, located at 59-712 B
  Kamehameha Hwy., Haleiwa, City & County of Honolulu, Hawaii, and
  thereby falls under the ambit of the ADA, 42 U.S.C. Section 12101 et seq.
               5. Accordingly the defendant THE COVE COLLECTION,
  LLC. is amenable to suit by the plaintiff for violation of the ADA.
               6. The defendant THE GROWING KEIKI, LLC. has violated
  and is violating the ADA by denying the plaintiff equal accommodations and
  has not complied with the ADA final rules, 28 CFR part 36, Subpart C, by
  failing to eliminate readily achievable barriers to equal accessibility,
  including but not limited to:
               a) no accessible entrance and no accessible route.
  THEREFORE, PLAINTIFF RESPECTFULLY REQUESTS THE COURT:
  enter judgment for the plaintiff and against the defendant THE COVE
  COLLECTION, LLC. and order the following relief:
               A) An injunction ordering the defendant THE COVE
                   COLLECTION’s full compliance with the ADA within one
                   hundred eighty (180) days;
               B) Payment of plaintiff’s litigation costs, including reasonable
                   expert and attorney’s fees; and
               D) Such other relief as the court deems proper.
  DATED: Honolulu, Hawaii, May 14, 2019.

  /s/ LUNSFORD DOLE PHILLIPS
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